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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:19-cv-293-AW-GRJ

Deborah Laufer, individually,
             Plaintiff,

v.

GURU KRUPA, INC.,
         Defendant(s).
                                       //


                   PLAINTIFFS' CERTIFICATE OF INTERESTED
               PERSONS AND CORPORATE DISCLOSURE STATEMENT

        I hereby certify as follows:

        1. The name of each person, attorney, association of persons, firm, law firm, partnership,

and corporation that has or may have an interest in the outcome of this action - including

subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that own

10% or more of a party's stock, and all other identifiable legal entities related to any party in the

case:

               Thomas B. Bacon, Attorney-At-Law

               Suzette Moore, Esq.

               Deborah Laufer, Plaintiff

               Guru Krupa, Inc., Defendant

        2. The name of every other entity whose publicly-traded stock, equity, or debt may be

substantially affected by the outcome of the proceedings:

               None other than the Defendants.
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       3. The name of every other entity which is likely to be an active participant in the

proceedings, including the debtor and members of the creditors' committee (or twenty largest

unsecured creditors) in bankruptcy proceedings:

               None other than the Defendants.

       4. The name of each victim (individual or corporate) of civil and criminal conduct alleged

to be wrongful, including every person who may be entitled to restitution:

       DEBORAH LAUFER

       5.      I certify that I am unaware of any actual or potential conflict of interest involving

the District Judge and Magistrate Judge assigned to this case and will immediately notify the Court

in writing upon learning of any such conflict.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this December 18, 2019.

                                             Respectfully submitted,
                                             /s/Suzette M. Marteny Moore
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